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                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF RHODE ISLAND


  STATE OF NEW YORK; STATE OF
  CALIFORNIA; STATE OF ILLINOIS; STATE OF
  RHODE ISLAND; STATE OF NEW JERSEY;
  COMMONWEALTH OF MASSACHUSETTS;
  STATE OF ARIZONA; STATE OF COLORADO;
  STATE OF CONNECTICUT; STATE OF              C.A. No. 1:25-cv-00039-JJM-PAS
  DELAWARE; THE DISTRICT OF COLUMBIA;
  STATE OF HAWAI’I; STATE OF MAINE; STATE
  OF MARYLAND; STATE OF MICHIGAN; STATE
  OF MINNESOTA; STATE OF NEVADA; STATE
  OF NORTH CAROLINA; STATE OF NEW
  MEXICO; STATE OF OREGON; STATE OF
  VERMONT STATE OF WASHINGTON; STATE
  OF WISCONSIN,

             Plaintiffs,

       v.

  DONALD TRUMP, IN HIS OFFICIAL CAPACITY
  AS PRESIDENT OF THE UNITED STATES; U.S.
  OFFICE OF MANAGEMENT AND BUDGET;
  MATTHEW J. VAETH, IN HIS OFFICIAL
  CAPACITY AS ACTING DIRECTOR OF THE
  U.S. OFFICE OF MANAGEMENT AND
  BUDGET; U.S. DEPARTMENT OF THE
  TREASURY; SCOTT BESSENT, IN HIS
  OFFICIAL CAPACITY AS SECRETARY OF THE
  TREASURY; PATRICIA COLLINS IN HER
  OFFICIAL CAPACITY AS TREASURER OF THE
  U.S.; U.S. DEPARTMENT OF HEALTH AND
  HUMAN SERVICES; DOROTHY A. FINK, M.D.,
  IN HER OFFICIAL CAPACITY AS ACTING
  SECRETARY OF HEALTH AND HUMAN
  SERVICES; U.S. DEPARTMENT OF
  EDUCATION; DENISE CARTER, IN HER
  OFFICIAL CAPACITY AS ACTING SECRETARY
  OF EDUCATION; U.S. FEDERAL EMERGENCY
  MANAGEMENT AGENCY; CAMERON
  HAMILTON, IN HIS OFFICIAL CAPACITY AS
  ACTING ADMINISTRATOR OF THE U.S.
  FEDERAL EMERGENCY MANAGEMENT


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  AGENCY; U.S. DEPARTMENT OF
  TRANSPORTATION;
  JUDITH KALETA, IN HER OFFICIAL
  CAPACITY AS ACTING SECRETARY OF
  TRANSPORTATION;
  U.S. DEPARTMENT OF LABOR; VINCE
  MICONE, IN HIS OFFICIAL CAPACITY AS
  ACTING SECRETARY OF LABOR; U.S.
  DEPARTMENT OF ENERGY; INGRID KOLB, IN
  HER OFFICIAL CAPACITY AS ACTING
  SECRETARY OF THE U.S. DEPARTMENT OF
  ENERGY; U.S. ENVIRONMENTAL
  PROTECTION AGENCY; JAMES PAYNE, IN HIS
  OFFICIAL CAPACITY AS ACTING
  ADMINISTRATOR OF THE U.S.
  ENVIRONMENTAL PROTECTION AGENCY;
  U.S. DEPARTMENT OF HOMELAND
  SECURITY; KRISTI NOEM, IN HER CAPACITY
  AS SECRETARY OF THE U.S. DEPARTMENT
  OF HOMELAND SECURITY; U.S.
  DEPARTMENT OF JUSTICE; JAMES R.
  McHENRY III, IN HIS OFFICIAL CAPACITY AS
  ACTING ATTORNEY GENERAL OF THE U.S.
  DEPARTMENT OF JUSTICE; THE NATIONAL
  SCIENCE FOUNDATION and DR.
  SETHURAMAN PANCHANATHAN, IN HIS
  CAPACITY AS DIRECTOR OF THE NATIONAL
  SCIENCE FOUNDATION,

                 Defendants.



    MOTION TO SUPPLEMENT THE RECORD ON PLAINTIFFS’ REQUEST FOR
  EMERGENCY TEMPORARY RESTRAINING ORDER UNDER FEDERAL RULE OF
                      CIVIL PROCEDURE 65(B)


        Plaintiffs in the above-captioned action hereby request the Court to permit them to

 supplement the record on their Request for Emergency Temporary Restraining Order Under

 Federal Rule of Civil Procedure filed January 28, 2025 (Doc. 3) with additional facts as set forth

 in the accompanying Affirmation of Kenneth J. Sugarman, which relate to federal government



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 communications post-dating the rescission of the OMB Directive. These additional facts are

 relevant to the Court’s determination of the appropriate content for the temporary restraining

 order to be entered in the case at this time (as well as additional evidence of the ongoing need for

 the restraining order). See Minute Entry for proceedings held before Chief Judge John J.

 McConnell, Jr.: Hearing via Zoom held on 1/29/2025, filed Jan. 29, 2025 (ordering

 Plaintiffs/States to prepare a proposed order); [Proposed] Temporary Restraining Order

 submitted by Plaintiffs, filed Jan. 30, 2025 (Doc. 46).



 January 30, 2025                              Respectfully submitted,

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